Case 3:23-cv-00711-KM Document 11-9 Filed 05/31/23 Page 1 of 5

EXHIBIT “T°”
Case 3:23-cv-00711-KM Document 11-9 Filed 05/31/23 Page 2 of 5

COMMONWEALTH OF PENNSYLVANIA, COUNTY OF LUZERNE

Commonwealth of Pennsylvania Docket No: MJ-11104-NT-0000015-2019
Case Filed: 1/4/2019
V. Docket No: MJ-11104-NT-0000023-2019

Case Filed: 1/9/2019
Douglas Bruce (note corrected name)

MOTION TO DISMISS

 

 

These misfiled tickets was brought by a non-attorney “code official” whose name is not
printed on a summons or citation. It relates to two different citation numbers dated the
same date. BRUCE received four copies of the two citations on the two docket numbers.
They refer to a magistrate Kravitz. BRUCE moves this case be heard by a judge. There
is no evidence the citations or docket numbers have been consolidated.

The summons refers to a “SUMMARY CASE NON-TRAFFIC.” The word “summary”
means abbreviated, and thus not entitled to full due process of law. That is an improper
process for a threatened demolition of private property. BRUCE moves he be accorded
full due process of law according to the Fifth and Fourteenth Amendments to the U.S.
Constitution..Article, VI, containing the Supremacy Clause, orders that “,..the Judges‘in
every State shall be bound thereby, any Thing in the Constitution.or Laws, of any, State to
the Contrary notwithstanding. ” That means any proceeding i in this matter must.comply:
fully with the federal Constitution. This proceeding i is unworthy of a banana republic.

The documents cite as their authority local ordinance 110, section 1. See Exhibit 1, a
copy of 110. Section 101.3 says its “intent” is that “structures and premises...shall be
altered or repaired to provide a minimum level of health and safety...” The words
“altered or repaired” do not mean demolished. Section 110 lets “code official judgment”
determine a crime, a fine, and a penalty of demolition; that is arbitrary and capricious. A
similar flaw is the personal judgment “that it is unreasonable to repair the structure.”
BRUCE has been a real estate investor for 44 year this May; he may use his different
judgment on that nebulous standard. The code does not provide clear objective standards
of civil or criminal liability to an owner; that is unlawful.

The summons “requires” a signed plea of “guilty” or “not guilty.” But section 110 is a
CIVIL, not a CRIMINAL ordinance. Further, any future “demolition” is threatened by
Pittston.and the plaintiff, NOT by BRUCE. BRUCE cannot lawfully be forced to pay a
$1, 000 “fine”, or any amount, for non-action. Does plaintiff demand $1,000, $2,000, or '
$4,000 in its four citations? Further, he cannot be “fined” before trial and final appeal.
BRUCE i is a former Deputy District Attommey and knows the proper process for what is a
Case 3:23-cv-00711-KM Document 11-9 Filed 05/31/23 Page 3 of 5

crime, and how to charge a crime. No one can demand a plea before proper arraignment,
advisement, and waiver of constitutional rights. It is hard to believe any government in
2019 America would not know and follow basic legal procedures.

BRUCE is also entitled to know the basis for the charge, and receive all discovery in the
possession of plaintiff—documents; photos; witness name, contact data, and summary of
personal knowledge; and any other information. The building is and has been empty and
secured by boarding. It is not a crime to own an empty building. To demand a fine and
guilty plea without proof of guilt for an undisclosed crime is stupid and unAmerican.

TO MAKE IT CLEAR, DOUGLAS BRUCE OBJECTS TO ANY DEMOLITION
OR DAMAGE TO HIS PRIVATE PROPERTY AT 385 N. MAIN STREET IN
PITTSTON. MY BUILDING IS BOARDED UP TO PREVENT INTERIOR
ACCESS OR TRESPASS TO THE PROPERTY. THIS APPLIES TO ANYONE--
GOVERNMENT EMPLOYEE OR AGENT. THIS MEANS YOU. KEEP OUT!!!

WHEREFORE, Douglas Bruce moves that all citations and docket entries regarding this
nonsense “case” be dismissed with prejudice. Your demolition laws are unconstitutional.

Submitted,

Dich, jp nea

Douglas Bruce

Box 26018

Colorado Springs CO 80936
(719) 550-0010
taxcutter@msn.com

CERTIFICATE OF SERVICE
I certify that I mailed a postage-paid copy of this MOTION... on January 17, 2019 to:

Code Official
35 Broad Street
Pittston PA 18640

[Glunjba oscee

Douglas Bruée
 

- Case 3:23-cv-00711-KM Document 11-9 Filed 05/31/23 Page 4 of 5
SCOPE AND-ADMINISTRATION,

  
 

post a placard of condempation onthe premises and order the -108,7 Record. The cade official shall causé a teport to be filed

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2008 INTERNATIONAL PROPERTY: MAINTENANCE cone”

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taking such action. If not notified prior to: disegmiection the:

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other approved. corrective action:

2009 INTERNATIONAL PROPERTY. MAINTENANCE CODE®

Case 3:23-cv-00711-KM Document 11-9 Filed 05/31/23 Page 5 of 5

SCOPE AND ADMINISTRATION:

108.7 Record, The code official shall cause a teport to be filed

of-ait unsafe condition: The report shall state the occupancy of
the structiré aiid the: tature of the iiisafe condition.

SECTION 103
EMERGENCY.MEASURES

109.1 linininelit danger, When; in the: opinion of the code offi-
cial, theteiis: imminent danger: of failure‘or collapse-of 4 build-
ing:o7 structure whith: ‘endangers: fife, or when-any Structure or.
part ofa stinetute ‘has fallen and life'is endangered by the occu-
pationof the structure, or when there is. actual or. potential dan-
one to the building gecupanis.or: those mm the: proximity of any
gure because. of explosives, ‘explosive: fumes ‘or vapors.or,
ihe the presence of toxic flimes, gases or materials, or operation of
defeotive or" ‘dangerous equipment}, ‘the code official’ ‘is hereby
aiithorized ‘anid empowered to: order and require thie odeupants
to vacate thé premises forthwith. The code official: shall cause
tobe posted at ach entrance to such structure a notice reading
ay follows: This Structure ls Unsate and Its Oceypaney Has
Beet Prohibited by the Cade Official It shall be unlawful for
any person.toenter. such: structure: ‘except for the: purpose, of
securing: the ‘stmoture, makin miaking the: ed repairs, removing
the-hazardous:condition or. of demolishing.ihe same,

   

 

 

 
 

   
 
 
 
  
   

 

109.2 Temporary saieguards, Notwithstanding other provi-
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structure isor-was looated for the recovery of.such costs.

109.6 Heating, Any ‘person ordered 16 take emergency mes-

shall comply with such order forihiwith, Any affected per-
soivshall thereafter; “upon petition directed to the appeals board,
beufforded a hearing 'as- desoribed in this: code.

 

   

SECTION 110
DEMOLITION.

116.1: General. The code'official shall order the owner of any:
premises upon which's located any’ Structure, which inthe code
official judgment:aRer review: 4g's0 deteriorated or dilapidated
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